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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 SUSAN C. MUELLER, and husband, S.                 §
 OSCAR MUNIGA,                                     §
 Plaintiffs                                        §
                                                   §
 v.                                                §   CASE NO: 6:20-CV-1140
                                                   §        JURY TRIAL DEMANDED
 MCLANE COMPANY, INC. d/b/a                        §
 MCLANE/SOUTHWEST,                                 §
 Defendant                                         §


                          PLAINTIFF’S ORIGINAL COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:

       Now Comes Plaintiffs, SUSAN C. MUELLER and S. OSCAR MUNIGA, complaining of

MCLANE COMPANY, INC. d/b/a MCLANE/SOUTHWEST, hereinafter referred to as Defendant,

and for cause of action would show the Court and Jury the following:

                             SUMMARY OF THE COMPLAINT

       This is a suit against Defendant complaining of disability discrimination and retaliation based

on the Texas Commission on Human Rights Act, V.T.C.A. Texas Labor Code §§ 21.001 et. seq.; the

Americans with Disabilities Act of 1990, 42 U.S.C. § 12101 et seq. (ADA), as amended by the

Americans with Disabilities Act Amendments Act of 2008 (ADAAA); the Family and Medical Leave

Act of 1993, 29 U.S.C. 2601 et seq. (FMLA); The Employee Retirement Income Security Act

(ERISA); and Texas Labor Code § 406.033 seeking damages for job termination and other related

damages allowed by said laws.



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                                              PARTIES

        1. Plaintiffs Susan C. Mueller and S. Oscar Muniga are individuals. Defendant is a Texas

corporation doing business in Bell County, Texas. The registered agent for Defendant is C T

Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136.

        2. Defendant is one or more entities with which Plaintiff, Susan C. Mueller, was employed

and was discharged from employment on or about October 4, 2019.

        3. Plaintiffs bring this suit against the entity or entities which have done business as

“McLane Company, Inc.,” “McLane/Southwest,” and/or “McLane Company, Inc. d/b/a

McLane/Southwest” and employed, discriminated, and discharged Plaintiff, Susan C. Mueller, from

employment. Therefore, Plaintiffs bring this suit against all of the entities which employed Plaintiff

at the time of any discrimination against her and at the time of termination of her employment.

                                     JURISDICTION/VENUE

        4. Jurisdiction is based on federal questions under 28 U.S.C. § 1331 to the extent Plaintiffs

assert claims under federal law; i.e. the Americans with Disabilities Act of 1990, 42 U.S.C. § 12101

et seq. (ADA), as amended by the Americans with Disabilities Act Amendments Act of 2008

(ADAAA); the Family and Medical Leave Act of 1993, 29 U.S.C. 2601 et seq. (FMLA), and The

Employee Retirement Income Security Act (ERISA).

        5. Jurisdiction of Plaintiffs’ claims under the Texas Labor Code § 406.033 and Chapter 21

is also appropriate under 28 U.S.C. § 1367, since the state law causes of action are so related to the

federal claims in the action within the Court’s original jurisdiction that it forms part of the same case

or controversy under Article III of the United States Constitution.



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         6. At all times relevant to this cause of action, Plaintiff, Susan C. Mueller, was an

“employee” of Defendant and Defendant was an “employer,” as these terms are defined in the

ADA/ADAAA, and the Texas Labor Code. Plaintiffs have exhausted all administrative remedies as

required by law and as hereinafter stated.

         7. Defendant does business in Bell County, Texas, which is within the Western District of

Texas. The incidents in question occurred at Defendant’s business location in Temple, Bell County,

Texas.

                                               FACTS

         8. Plaintiff, Susan C. Mueller, was a female employee of Defendant, as a selector, at

Defendant’s Temple, Bell County, Texas location at the time of her injuries and termination.

Plaintiff worked as a full time employee of Defendant from May 29, 2013 until she was illegally

discharged on or about October 4, 2019.

         9. Plaintiff sustained an injury on the job on December 18, 2018. The injury resulted in

Plaintiff having the impairment of a wrist fracture and related impairments; including, but not

limited to, pain, swelling, impaired movement, and loss of grip.

         10. On December 18, 2018, Plaintiff was selecting product, which involved pulling the

product physically from high shelves. Plaintiff stepped up onto a pallet to reach the product. Plaintiff

normally would have used a long “puller pole,” with a type of hook on it, to obtain the product;

however, there were no poles available to use. Because there were no poles, Plaintiff was required

to step onto a pallet that had plastic shrink-wrap on the lower part of it. Plaintiff’s foot was caught

on some shrink wrap when she stepped back and she tripped and fell breaking her right wrist. Had



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Plaintiff been provided with the appropriate instrumentality by the Defendant; i.e., the above

described pole with the hook, she would not have fallen.

         11. Plaintiff was taken off work due to her wrist injury in March 2019 and was not allowed

to continue with modified duty. Plaintiff took medical leave until she was able to return to work

without restrictions in July 2019.

         12. Plaintiff sustained an injury on the job on September 11, 2019, when she tripped over a

rack that protrudes out from the other racks approximately 1-2 in inches, and fell. A co-worker was

standing by the conveyor, which required Plaintiff to walk closer to the racks than she normally

would.

         13. Plaintiff immediately notified her supervisor that she had fallen; however, Defendant did

not send Plaintiff to a doctor at the time.

         14. Plaintiff’s pelvic and hip area became very painful following her fall, so Plaintiff went

to the emergency room on September 19, 2019 for an evaluation. Plaintiff was diagnosed with a

pelvic fracture and was taken off work by the doctor until September 24.

         15. On September 20, 2019, Plaintiff notified Defendant that she had been to the emergency

room and was diagnosed with a pelvic fracture from her fall on September 11 and would not be able

to come in to work.

         16. The injury resulted in Plaintiff having the impairment of a broken pelvis and related

impairments; including, but not limited to, extreme pain, restricted movements, and difficulty in

walking, stooping, or squatting. This injury amounted to a disability, as defined by the TCHRA and

the ADAAA, because the pain affected the major life activities of standing, stooping, squatting, and

walking as the average person in the population.

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           17. On September 23, 2019, Plaintiff delivered her medical paperwork to Defendant’s human

resource department. Plaintiff was sent home for the week and was told there was no work available

for her.

           18. On September 30, 2019, Plaintiff called Defendant to see if there was work for her.

Plaintiff was told to come in on October 1, 2019 for light duty. Plaintiff returned to work on October

1 and was given a disciplinary write-up for the accident that caused her pelvic fracture.

           19. On October 2, 2019, Plaintiff was given another disciplinary write-up for calling in on

September 20 to report her diagnosis from the emergency room and advising Defendant that she

would not be able to come to work.

           20. On October 4, 2019, Plaintiff was terminated from her employment.

                                         CAUSES OF ACTION

                  Violation of Chapter 21 Texas Labor Code & the ADA/ADAAA

           21. Plaintiff, Susan C. Mueller, is a person with an impairment and is a "qualified individual

with a disability," as that term is defined under the Texas Labor Code §§ 21.001 et seq., hereinafter

the "TCHRA”; and the Americans with Disabilities Act of 1990, 42 U.S.C. § 12101 et seq. (ADA),

as amended by the Americans with Disabilities Act Amendments Act of 2008 (ADAAA). At all times

relevant to this action, Plaintiff alleges that she was an “employee” who was a “qualified individual

with a disability”(i.e., Plaintiff satisfied all the skill, experience, education and other job-related

selection criteria of her position with Defendant despite her disability or with a reasonable

accommodation) and Defendant was an "employer," as those terms are defined under the TCHRA

and the ADA/ADAAA.



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       22. At all relevant times to this suit, Plaintiff had the physical impairments as described

above, that substantially limited one or more major life activities, a record of such an impairment,

and/or was regarded as having such an impairment by Defendant, which resulted in a disability as

defined by TCHRA and the ADA/ADAAA. Plaintiff alleges that she was able and qualified to do the

essential functions of her regular job, with or without a reasonable accommodation, at the time of

her termination.

       23. Plaintiff alleges that the actions described above were motivating factors for her

termination because of her disability, Plaintiff‘s record of a disability, or Defendant regarding her

as being disabled in violation of the TCHRA the ADA/ADAAA, and/or Plaintiff’s need to take leave

regarding her own serious health condition under those laws and/or the FMLA, resulting in damages

as hereinafter set forth. Further, Defendant failed to grant Plaintiff reasonable accommodations to

include, but not limited to, a reasonable time-limited amount of leave to recuperate or enter into an

interactive process to discover a reasonable accommodation, as described above and as allowed by

the TCHRA and the ADA/ADAAA.

                                     Violation of the FMLA

       24. Defendant was an employer of fifty or more employees within a seventy-five mile radius

of Plaintiff’s site of employment and was subject to the Family and Medical Leave Act (FMLA), 29

U.S.C. § 2601 et seq. Plaintiff worked for Defendant for more than a year, had worked at least 1250

hours in the previous year of employment, and was therefore protected by the FMLA because of her

serious health condition as defined by the FMLA and its regulations. Plaintiff was entitled to take

reasonable leave, not to exceed a total of 12 workweeks of leave during any 12-month period, to care



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for herself because of a serious health condition, as described under the FMLA and Title 29 § 825

of the Code of Federal Regulations.

         25. Defendant’s willful and intentional termination of Plaintiff’s employment, under the

circumstances described above, was a violation of the FMLA resulting in damages as hereinafter set

forth.

         26. The FMLA prohibits an employer from interfering with, restraining, or denying the

exercise of any rights provided by said law, and the regulations, or from discharging an employee

because of instituting any proceeding under said law. Plaintiff alleges that Defendant violated both

her prescriptive and proscriptive rights under the FMLA by taking actions, including, but not limited

to, the following:

            A. Defendant interfered with the exercise of Plaintiff’s rights under the FMLA by
               refusing to allow Plaintiff to utilize the FMLA to protect her absences as described
               above.

            B. The FMLA provides that an employer cannot use the taking of FMLA leave as a
               negative factor in employment actions, such as disciplinary actions. Defendant’s use
               of the taking of the intermittent and/or emergency FMLA leave by Plaintiff, for her
               own self-care, in the decision to discharge her, was a violation of said law.

            C. Defendant’s action in discharging Plaintiff violated said law.

            D. Defendant retaliated against Plaintiff for exercising her rights under the FMLA when
               it discharged her and refused to allow her to return to her previous or comparable
               position.

            Defendant’s discrimination against Plaintiff as described above resulted in damages as

hereinafter set forth.




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                               TCHRA/ADA/FMLA DAMAGES

       28. As a result of the violation of TCHRA and/or the ADA/ADAAA, as described above,

Plaintiff has lost past and future wages and benefits of employment. Further, Plaintiff has suffered

past and future compensatory damages, pecuniary losses, emotional pain, suffering, inconvenience,

mental anguish, loss of enjoyment of life, and other nonpecuniary losses. Plaintiff hereby sues for

reimbursement of said damages.

       29. As a result of the violation of the FMLA, as described above, Plaintiff has suffered the

loss of past and future wages, employment benefits, and other compensation lost as a result of the

violations.

                              Causes of Action- Duty & Negligence

       30. Defendant, at all times relevant to this suit, was an employer, who was a non-subscriber

to the Texas Worker’s Compensation system by not providing a qualifying worker’s compensation

policy of insurance for its employees as provided by Texas Labor Code § 406.033. Because

Defendant is a non-subscriber, this cause of action is governed by the provisions of Texas Labor

Code § 406.033, which waives certain defenses of Defendant as stated in said law.

       31. Under the law of Texas, Defendant has a non-delegable and continuous duty to use

ordinary care to: (1) provide its employees a reasonably safe workplace; (2) warn employees of the

hazards of their employment; (3) furnish reasonably safe machinery, tools or instrumentalities; (4)

supervise employee's activity; (5) provide proper training, rules, and regulations for safety; and (6)

provide sufficient and careful and competent fellow employees.

       32. On the occasions in question on December 18, 2018 and/or September 11, 2019,

Defendant was negligent and violated its duties to Plaintiff in the following manner:

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            A. In failing to provide reasonably safe tools, instrumentalities, and equipment, as well
               as a reasonably safe workplace;

            B. In failing to properly supervise the activities of their employees;

            C. In failing to provide proper training, rules, and regulations;

            D. In failing to provide a sufficient number of careful and competent fellow employees.

            E. On the occasion on September 11, 2019, the contemporaneous negligence of
               Plaintiff’s co-employee, who caused Plaintiff to be distracted because of where the
               co-employee was negligently standing and caused her to be required to walk where
               she tripped and fell, thereby causing the injury to her body, hip, and pelvis. At the
               moment Plaintiff tripped over the edge of the shelving that jutted out further than
               necessary, Plaintiff was distracted by the co-employee and did not have the
               awareness that she was about to trip over the shelving and she did not have time to
               see that she was going to trip over it. Plaintiff also alleges that the area of the
               shelving that caused her to trip was not open and/or obvious.

        33. The foregoing acts of negligence were a proximate cause of Plaintiff's damages as

hereinafter set forth.

                               Bodily Injury Damages of Plaintiff

        34. As a proximate result of the incidents described above, Plaintiff, Susan C. Mueller, was

caused to suffer bodily injuries, and to incur the following damages:

            A. Reasonable medical care and expenses in the past. These expenses were incurred by
               Plaintiff for the necessary care and treatment of the injuries resulting from the
               accident complained of herein and such charges are reasonable and were usual and
               customary charges for such services;

            B. Reasonable and necessary medical care and expenses which will in all reasonable
               probability be incurred in the future;

            C. Physical pain and suffering in the past;

            D. Physical pain and suffering in the future;

            E. Physical impairment in the past;


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           F. Physical impairment in the future;

           G. Loss of earnings in the past;

           H. Loss of earnings in the future;

            I. Mental anguish in the past; and

           J. Mental anguish in the future.

                             Damages of Plaintiff S. Oscar Muniga

       35. As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff, S. Oscar Muniga, was caused to suffer, and to incur the following damages:

       A. Loss of Consortium in the past, including damages to the family relationship, loss of
          care, comfort, solace, companionship, protection, services, and/or physical relations;

       B. Loss of Consortium in the future including damages to the family relationship, loss of
          care, comfort, solace, companionship, protection, services, and/or physical relations;

       C. Loss of Household Services in the past; and

       D. Loss of Household Services in the future.

                     VIOLATION OF 29 U.S.C. SECTION 1140 (ERISA)

       36. Plaintiff was injured on the job as described above. Under Defendant’s Texas Employees

Injury Benefit Plan (“Plan”) (an Employment Retirement Security Act (“ERISA”) qualified plan),

Plaintiff had the right to be compensated for her on the job injuries resulting in medical expense and

impairment. However, Plaintiff was terminated from employment shortly after her injury of

September 11, 2019 and the Defendant refused to compensate her under the Plan. Plaintiff alleges

that she was terminated from her employment in retaliation for her injury on the job and/or in order

to prevent and/or interfere with her rights under the Plan and the right to receive compensation for

her past and/or future medical expenses related to the injury and/or any other benefits she might have

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been entitled to receive under the Plan. This termination of her employment and/or interference with

her rights under the Plan violates ERISA, 29 U.S.C. Section 1140 (a/k/a “Section 510”) for which

violation and damages Plaintiff makes claim.

                                       ERISA DAMAGES

       37. As a result of the ERISA violation described above, Plaintiff seeks all equitable and legal

damages allowed by ERISA to include reasonable back pay and future pay. Plaintiff also seeks

reasonable attorney fees necessary for the recovery of her damages

                                     PUNITIVE DAMAGES

       38. Defendant’s wrongful action in terminating Plaintiff was done knowingly, intentionally,

with malice, and/or recklessly or with gross negligence in violation of Plaintiff’s state protected

rights; therefore, Plaintiff is entitled to recover punitive damages from Defendant.

                                  LIQUIDATED DAMAGES

       39. Defendant’s bad faith and unreasonable wrongful actions in violating Plaintiff’s rights

under the FMLA should result in the Court awarding an additional sum as liquidated damages equal

to the damages awarded for all of the foregoing economic damages of Plaintiff.

              INJUNCTION/EQUITABLE RELIEF AGAINST DEFENDANT

       40. On a finding that Defendant has engaged in an unlawful practice(s), as alleged above,

Plaintiff requests the Court to prohibit by injunction the Defendant from engaging in the unlawful

employment practice(s) and order any and all additional equitable relief as may be appropriate as

listed and set out in § 21.258 of the Texas Labor Code and the ADA, including reinstatement to her

job, if reasonably possible at the time and under the circumstances then existing.



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                                        ATTORNEY FEES

       41. Plaintiff has also had to employ an attorney to vindicate her rights for being terminated,

and seeks reasonable and necessary attorney fees as allowed by law.

                                      EQUITABLE RELIEF

       42. The Court should award appropriate equitable relief such as an injunction against further

wrongful acts and/or reinstatement, if reasonably possible under the circumstances then existing.

                            ADMINISTRATIVE PREREQUISITES

       43. Plaintiff alleges that all conditions precedent to the causes of action under the TCHRA

and the ADA/ADAAA or any other law have been performed or have occurred, including exhausting

all required administrative remedies. Plaintiff timely filed a complaint of discrimination with the

Texas Workforce Commission-Civil Rights Division within 180 days of her termination (which is

a joint filing with the EEOC), cooperated with the investigation, allowed 180 days for the

investigation of the complaint, and has requested a right to sue from the TWCCRD and the EEOC.

                                          JURY DEMAND

       44. Plaintiff respectfully demands a trial by jury.

                                              PRAYER

       WHEREFORE, Plaintiff requests that Plaintiff be awarded relief and damages, as stated

above, including past and future lost compensation and benefits, past and future compensatory

damages, punitive damages, injunctive relief, reinstatement if reasonably possible, attorney fees,

costs of court, and such other relief, both at law and in equity, as Plaintiff may be justly entitled.




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